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 1                                                   DENIED
 2                                       BY ORDER OF THE COURT
 3                                                    AS MOOT
 4                                                                       1/24/2022
 5
 6
 7                                 UNITED STATES DISTRICT COURT
 8                                CENTRAL DISTRICT OF CALIFORNIA
 9                                        WESTERN DIVISION
10
     KAYLA M. WOOD,                                             Case No. 2:21-cv-08601-JFW-JC
11
12                   Plaintiff,                        [PROPOSED] ORDER GRANTING
                                                       STIPULATED MOTION FOR
13   vs.                                               PLAINTIFF’S AND DEFENDANT’S
                                                       COUNSEL TO APPEAR
14   I.Q. DATA INTERNATIONAL, INC.,                    TELEPHONICALLY AT THE
15                                                     SCHEDULING CONFERENCE
                    Defendant.
16                                                        Date: January 31, 2022
                                                          Time: 1:15 p.m.
17                                                        Judge: Hon. John F. Walter
18
19
                    The Court, having considered the Stipulated Motion to Appear Telephonically at the
20
      Scheduling Conference currently scheduled for Monday, January 31, 2022 at 1:15 p.m., and good
21
      cause appearing.
22
23                  IT IS HEREBY ORDERED that counsel for Plaintiff and counsel for Defendant shall

24    appear telephonically at the Scheduling Conference.
25                          DATED this ____ day of January 2022.
26
27                                                 ____________________________________
                                                   Honorable John F. Walter
28                                                 United States District Judge




                                                      1
